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AO 91 (Rev. 08/09) Criminal Complaint §

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UNITED STATES DISTRICT CoURT
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Southern District of Texas
Devtc§ J. Bradley, Cterk

 

United States of America )
"' ) '/»/523»/\/\
r) Case No. M " /
Jacqueline Vazquez )
YOB: 1996 ClTlZENSHlP: United States §
Defena'ant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 

 

On or about the date(s) of August 29, 2017 in the county of Hidalgo in the
Sguthem District of Texas , the defendant(s) Violated:
Code Section O]j’ense Description
21 U.S.C. § 841 did knowingly and intentionally possess With the intent to distribute

approximately 7.86 kilograms of methamphetamine a Schedule ll controlled
substance and 3.40 kilogarms of cocaine a Schedule ll controlled substance

21 U.S.C § 952 did knowingly and intentionally import With the intent to distribute approximately

7.86 kilograms of methamphetamine a Schedule ll controlled substance and
3.40 kilograms of cocaine a Schedule ll controlled substance

This criminal complaint is based on these facts:

SEE ATTACH|VIENT "A"

i/ Continued on the attached sheet.

 

Complainant 's signature

ja att/f

Janet Doughertv, U.S. HSl Special Aqent

Printed name ana' title

 

SWorn to before me and signed in my presence. §
Date: 8/29/2017 3 . 3 7/¢_,__` /§C /pW\/>
Jua'ge' S signature

City and state: l\/chllen, Texas U.S. l\/lagistrate Juclge Peter Ormsby

Printed name and title

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Attachment ”A”

On August 29, 2017, Department ofHomeland Security (Dl-lS), Homeland Security lnvestigations
lVchllen, Texas Office received information from Customs and Border Protection(CBP), Office of Field
Operations (OFO), in reference to the seizure of approximately 7.86 kilograms of methamphetamine and
3.40 kilograms of cocaine which Were found in a vehicle making entry into the United States from
l\/lexico. The driver and sole occupant of the vehicle was identified as lacqueline VASQUEZ.

CBP Officer A. Ortiz stated the vehicle, driven by VAZQUEZ, arrived at the primary inspection lane at
approximately 6:54am. CBP Officer Ortiz advised VAZQUEZ stated the vehicle belonged to her and she
had been in l\/lexico visiting her father. CBP OfficerJ. Hernandez and his canine Were working near the
primary lane. CBP Officer Hernandez advised CBP Officer Ortiz his canine had alerted to the odor of
narcotics in the vehicle which VAZQUEZ was driving. The vehicle was then sent to secondary for further

inspection. Once at secondary inspection, narcotics were located hidden within a compartment in the
vehicle.

During a post l\/liranda interview of VAZQUEZ, VAZQUEZ initially stated she had made arrangements with
an unknown male in l\/lexico to smuggle narcotics into the United States. VAZQUEZ stated the unknown
male made arrangements to get a vehicle registered under her name, so she could begin crossing into
the United States With it. VAZQUEZ stated she was told she would be crossing the vehicle, unloaded, for
a month. VAZQUEZ initially stated she Was unaware the vehicle Would be loaded on this occasion.
VAZQUEZ further stated she had made arrangement to be paid $1,000 USD for every loaded vehicle
Which she did cross.

During a second interview, still under l\/liranda, VAZQUEZ stated she was aware the vehicle had narcotics
in it on this occasion. VAZQUEZ stated she received a phone call the day before and she Was advised to
drive into l\/lexico and park the vehicle at a hotel. VAZQUEZ was instructed the vehicle would be
returned to her on today's date and she was to cross the vehicle into the United States. VAZQUEZ
stated she Was to make contact With an individual once crossing into the United States. VAZQU EZ stated
she was going to be paid $1,000 USD for her role in this smuggling event.

